Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 1 of 15 Page ID #:622



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    9                     IN THE UNITED STATES DISTRICT COURT
   10                        CENTRAL DISTRICT OF CALIFORNIA
   11
   12
   13
                                                       Case No. 2:20-cv-04300
   14   JOHNW. WILLIAMS,
                                                   STIPULATED PROTECTIVE
   15                                   Plaintiff, ORDER
   16                v.
   17   JASON BLACK, JAMES
        SANCHEZ, MILLER, A.
   18   MARTINEZ, S. WENKLER,
        CARLEE,
   19
                                     Defendants.
   20
   21   1.   PURPOSES AND LIMITATIONS
   22        Discovery in this action is likely to involve production of confidential,
   23   proprietary, or private information for which special protection from public
   24   disclosure and from use fo.r any purpose other than prosecuting this litigation may
   25   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   26   enter the following Stipulated Protective Order. The parties acknowledge that this
   27   Stipulated Protective Order does not confer blanket protections on all disclosures or
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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 2 of 15 Page ID #:623



    1   responses to discovery and that the protection it affords from public disclosure and
                       .
    2   use extends only to the limited information or items that are entitled to confidential
    3   treatment under the applicable legal principles. The parties further acknowledge, as
    4   set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
    5   them to file confidential information under seal; Local Rule 79-5 sets forth the
    6   procedures that must be followed and the standards that will be applied when a
    7   party seeks permission from the Court to file material under seal.
    8   2.     GOOD CAUSE STATEMENT
    9          This action involves confidential and private medical and other information
   10   of individuals not parties to this action for which special protection from public
   11   disclosure and from use for any purpose other than prosecution of this action is
   12   warranted. Such confidential and private materials and information consist of,
   13   among other things, confidential information implicating privacy rights of third
   14   parties, information·otherwise generally unavailable to the public, or which may be
   15   privileged or otherwise protected from disclosure under state or federal statutes,
   16   court rules, case decisions, or common law. Accordingly, to expedite the flow of
   17   information, to facilitate the prompt resolution of disputes over confidentiality of
   18   discovery materials, to adequately protect information the parties are entitled to
   19   keep confidential, to ensure that the parties are permitted reasonable necessary uses
   20   of such material in preparation for and in the conduct of trial, to address their
   21   handling at the end of the litigation, and to serve the ends of justice, a protective
   22   order for such information is justified in this matter. It is the intent of the parties
   23   that information wiB not be designated as confidential for tactical reasons and that
   24   nothing be so designated without a good faith belief that it has been maintained in a
   25   confidential, non-public manner, and there is good cause why it should not be part
   26   of the public record of this case.
   27   3.    DEFINITIONS
              3 .1. Action: John Williams v. Jason Black, et al.,
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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 3 of 15 Page ID #:624



     1   United States District Court, Central District of California, Case No. 2:20-cv-04300
    2           3 .2.   Challenging Party: A Party or Nonparty that challenges the designation
    3    of information or items under this Stipulated Protective Order.
    4           3.3.    "CONFIDENTIAL" Information or Items: Information (regardless of
    5    how it is generated, stored or maintained) or tangible things that qualify for
    6    protection under Federal Rule of Civil Procedure 26(c), otherwise private or
    7    confidential information regarding a third party, and as specified above in the Good
    8    Cause Statement.
    9           3.4.    Counsel: Outside Counsel of Record and In-House Counsel (as well as
   10    their support staff).
   11           3.5.    Designating Party: A Party or Nonparty that designates information or
   12    items that it produces in disclosures or in responses to discovery as
   13    "CONFIDENTIAL."
   14           3.6.    Disclosure or Discovery Material: All items or information, regardless
   15    of the medium or manner in which it is generated, stored, or maintained (including,
   16    among other things, testimony, transcripts, interrogatory responses, documents, and
   17    tangible things), that is produced or generated in disclosures or responses to
   18    discovery in this matter.
   19           3. 7.   Expert: A person with specialized knowledge or experience in a matter
   20    pertinent to the litigation who has been retained by a Party or its counsel to serve as
   21    an expert witness or_ as a consultant in this Action.
   22           3.8.    In-House Counsel: Attorneys who are employees of a party to this
   23    Action. In-House Counsel does not include Outside Counsel of Record or any other
   24    outside counsel.
   25          3.9.     Nonparty: Any natural person, partnership, corporation, association, or
   26    other legal entity not named as a Party to this action.
   27          3.10. Outside Counsel of Record: Attorneys who are not employees of a
   28    party to this Action but are retained to represent or advise a party to this Action and

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 4 of 15 Page ID #:625



    1   have appeared in this Action on behalf of that party or are affiliated with a law firm
    2   which has appeared on behalf of that party, and includes support staff.
    3          3 .11. Party: Any party to this Action, including all of its officers, directors,
    4   employees, consultants, retained experts, In-House Counsel, and Outside Counsel
    5   of Record (and their support staffs).
    6          3.12. Producing Party: A Party or Nonparty that produces Disclosure or
    7   Discovery Material in this Action.
    8          3.13. Professional Vendors: Persons or entities that provide litigation
    9   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
   10   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   11   and their employees and subcontractors.
   12          3.14. Protected Material: Any Disclosure or Discovery Material that is
   13   designated as "CONFIDENTIAL."
   14          3.15. Receiving Party: A Party that receives Disclosure or Discovery
   15   Material from a Producing Party.
   16   4.     SCOPE
   17          The protections conferred by this Stipulated Protective Order cover not only
   18   Protected Material, but also ( 1) any information copied or extracted from Protected
   19   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
   20   and (3) any testimony, conversations, or presentations by Parties or their Counsel
   21   that might reveal Protected Material.
   22          Any use of Protected Material at trial shall be governed by the orders of the
   23   trial judge. This Stipulated Protective Order does not govern the use of Protected
   24   Material at trial.
   25   5.     DURATION
   26          Even after final disposition of this litigation, the confidentiality obligations
   27   imposed by this Stipulated Protective Order shall remain in effect until a
   28   Designating Party agrees otherwise in writing or a court order otherwise directs.

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 5 of 15 Page ID #:626



    1   Final disposition shall be deemed to be the later of (1) dismissal of all claims and
    2   defenses in this Action, with or without prejudice; and (2) final judgment herein.
    3   after the completion and exhaustion of all appeals, rehearings, remands, trials, or
    4   reviews of this Action, including the time limits for filing any motions or
    5   applications for extension of time pursuant to applicable law.
    6   6.    DESIGNATING PROTECTED MATERIAL
    7         6.1.   Exercise of Restraint and Care in Designating Material for Protection.
    8         Each Party or Nonparty that designates information or items for protection
    9   under this Stipulated Protective Order must take care to limit any such designation
   10   to specific material that qualifies under the appropriate standards. The Designating
   11   Party must designate for protection only those parts of material, documents, items,
   12   discovery responses, or oral or written communications that qualify so that other
   13   portions of the material, documents, items, discovery responses, or communications
   14   for which protection is not warranted are not swept unjustifiably within the ambit of
   15   this Stipulated Protective Order.
   16         Mass, indiscriminate, or routinized designations are prohibited. Designations
   17   that are shown to be clearly unjustified or that have been made for an improper
   18   purpose (e.g., to unnecessarily encumber the case development process or to
   19   impose unnecessary expenses and burdens on other parties) may expose the
   20   Designating Party to sanctions.
   21         6.2.   Manner and Timing of Designations.
   22         Except as otherwise provided in this Stipulated Protective Order (see, e.g.,
   23   Section 6.2(a)), or as otherwise stipulated or ordered, Disclosure or Discovery
   24   Material or Responses that qualifies for protection under this Stipulated Protective
   25   Order must be clearly so designated before the material is disclosed or produced.
   26         Designation in conformity with this Stipulated Protective Order requires the
   27   following:
   28         (a)    For information in documentary form (e.g., paper or electronic

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 6 of 15 Page ID #:627



    1   documents, including discovery responses, but excluding transcripts of depositions
    2   or other pretrial or trial proceedings), that the Producing Party affix at a minimum,
    3   the legend "CONFIDENTIAL" to each page that contains protected material. If
    4   only a portion or portions of the material on a page qualifies for protection, the
    5   Producing Party also must clearly identify the protected portion(s) (e.g., by making
    6   appropriate markings in the margins).
    7         A Party or Nonparty that makes original documents available for inspection
    8   need not designate them for protection until after the inspecting Party has indicated
    9   which documents it would like copied and produced. During the inspection and
   10   before the designation, all of the material made available for inspection shall be
   11   deemed "CONFIDENTIAL." After the inspecting Party has identified the
   12   documents it wants copied and produced, the Producing Party must determine
   13   which documents, or portions thereof, qualify for protection under this Stipulated
   14   Protective Order. Then, before producing the specified documents, the Producing
   15   Party must affix the legend "CONFIDENTIAL" to each page that contains
   16   Protected Material. If only a portion or portions of the material on a page qualifies
   17   for protection, the Producing Party also must clearly identify the protected
   18   portion(s) (e.g., by making appropriate markings in the margins).
   19         (b)    For testimony given in depositions, that the Designating Party identify
   20   the Disclosure or Discovery Material on the record, before the close of the
   21   deposition, all protected testimony.
   22         (c)    For information produced in non-documentary form, and for any other
   23   tangible items, that the Producing Party affix in a prominent place on the exterior of
   24   the container or containers in which the information is stored the legend
   25   "CONFIDENTIAL." If only a portion or portions of the information warrants
   26   protection, the Producing Party, to the extent practicable, shall identify the
   27   protected portion(s).
   28   ///

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 7 of 15 Page ID #:628



    1         6.3.    Inadvertent Failure to Designate.
    2         If timely corrected, an inadvertent failure to designate qualified information
    3   or items does not, standing alone, waive the Designating Party's right to secure
    4   protection under this Stipulated Protective Order for such material. Upon timely
    5   correction of a designation, the Receiving Party must make reasonable efforts to
    6   assure that the material is treated in accordance with the provisions of this
    7   Stipulated Protective Order.
    8   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
    9         7 .1. : Timing of Challenges.
   10         Any Party or Nonparty may challenge a designation of confidentiality at any
   11   time that is consistent with the Court's Scheduling Order.
   12         7 .2.   Meet and Confer.
   13         The Challenging Party shall initiate the dispute resolution process, which
   14   shall comply with Local Rule 37.1 et seq., and with Section 4 of Judge Audero's
   15   Procedures ("Mandatory Telephonic Conference for Discovery Disputes"). 1
   16         7.3.    Burden of Persuasion.
   17         The burden of persuasion in any such challenge proceeding shall be on the
   18   Designating Party. Frivolous challenges, and those made for an improper purpose
   19   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
   20   expose the Challenging Party to sanctions. Unless the Designating Party has waived
   21   or withdrawn the confidentiality designation, all parties shall continue to afford the
   22   material in question the level of protection to which it is entitled under the
   23   Producing Party's designation until the Court rules on the challenge.
   24   8.    ACCESS TO AND USE OF PROTECTED MATERIALS
   25         8.1.    Basic Principles.
   26         A Receiving Party may use Protected Material that is disclosed or produced
   27
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                Judge Audero's Procedures are available at
   28   https://www.cacd.uscourts.gov/honorable-maria-audero.
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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 8 of 15 Page ID #:629



    1   by another Party or by a Nonparty in connection with this Action only for
    2   prosecuting, defending, or attempting to settle this Action. Such Protected Material
    3   may be disclosed only to the categories of persons and under the conditions
    4   described in this Stipulated Protective Order. When the Action reaches a final
    5   disposition, a Receiving Party must comply with the provisions of Section 14
    6   below.
    7         Protected Material must be stored and maintained by a Receiving Party at a
    8   location and in a secure manner that ensures that access is limited to the persons
    9   authorized under this Stipulated Protective Order.
   10         8.2.   Disclosure of "CONFIDENTIAL" Information or Iterns.
   11         Unless otherwise ordered by the Court or permitted in writing by the
   12   Designating Party, a Receiving Party may disclose any information or item
   13   designated "CONFIDENTIAL" only to:
   14         (a)    The Receiving Party's Outside Counsel of Record, as well as
   15   employees of said Outside Counsel of Record to whom it is reasonably necessary to
   16   disclose the information for this Action;
   17         (b)    The officers, directors, and employees (including In-House Counsel)
   18   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
   19         (c)    Experts of the Receiving Party to whom disclosure is reasonably
   20   necessary for this Action and who have signed the "Acknowledgment and
   21   Agreement to Be Bound" (Exhibit A);
   22         (d)    The Court and its personnel;
   23         (e)    Court reporters and their staff;
   24         (f)    Professional jury or trial consultants, mock jurors, and Professional
   25   Vendors to whom disclosure is reasonably necessary or this Action and who have
   26   signed the "Acknowledgment and Agreement to be Bound" (Exhibit A);
   27         (g)    The author or recipient of a document containing the information or a
   28   custodian or other person who otherwise possessed or knew the information;

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 9 of 15 Page ID #:630



    1          (h)   During their depositions, witnesses, and attorneys for witnesses, in the
    2   Action to whom disclosure is reasonably necessary provided: (i) the deposing party
    3   requests that the witness sign the "Acknowledgment and Agreement to Be Bound"
    4   (Exhibit); and (ii) the witness will not be permitted to keep any confidential
    5   information unless they sign the "Acknowledgment and Agreement to Be Bound,"
    6   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
    7   transcribed deposition testimony or exhibits to depositions that reveal Protected
    8   Material may be separately bound by the court reporter and may not be disclosed to
    9   anyone except as permitted under this Stipulated Protective Order; and
   10         (i)    Any mediator or settlement officer, and their supporting personnel,
   11   mutually agreed upon by any of the parties engaged in settlement discussions.
   12   9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
   13         PRODUCED IN OTHER LITIGATION
   14         If a Party is served with a subpoena or a court order issued in other litigation
   15   that compels disclosure of any information or items designated in this Action as
   16   "CONFIDENTIAL," that Party must:
   17         (a)    Promptly notify in writing the Designating Party. Such notification
   18   shall include a copy of the subpoena or court order;
   19         (b)    Promptly notify in writing the party who caused the subpoena or order
   20   to issue in the other litigation that some or all of the material covered by the
   21   subpoena or order is subject to this Stipulated Protective Order. Such notification
   22   shall include a copy of this Stipulated Protective Order; and
   23         (c)    Cooperate with respect to all reasonable procedures sought to be
   24   pursued by the Designating Party whose Protected Material may be affected.
   25         If the Designating Party timely seeks a protective order, the Party served with
   26   the subpoena or court order shall not produce any information designated in this
   27   action as "CONFIDENTIAL" before a determination by the Court from which the
   28   subpoena or order issued, unless the Party has obtained the Designating Party's

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 10 of 15 Page ID #:631



     1   permission. The Designating Party shall bear the burden and expense of seeking
     2   protection in that court of its confidential material and nothing in these provisions
     3   should be construed as authorizing or encouraging a Receiving Party in this Action
     4   to disobey a lawful directive from another court.
     5   10.   A NONPARTY'S PROTECTED MATERIAL SOUGHT TO BE
     6         PRODUCED IN THIS LITIGATION
     7         10.1. Application.
     8         The terms of this Stipulated Protective Order are applicable to information
     9   produced by a Nonparty in this Action and designated as "CONFIDENTIAL." Such
    10   information produced by Nonparties in connection with this litigation is protected
    11   by the remedies and relief provided by this Stipulated Protective Order. Nothing in
    12   these provisions should be construed as prohibiting a N onparty from seeking
    13   additional protections.
    14         10.2. Notification.
    15         In the event that a Party is required, by a valid discovery request, to produce
    16   a Nonparty' s confidential information in its possession, and the Party is subject to
    17   an agreement with the Nonparty not to produce the Nonparty's confidential
    18   information, then the Party shall:
    19         (a)    Promptly notify in writing the Requesting Party and the Nonparty that
    20   some or all of the information requested is subject to a confidentiality agreement
    21   with a Nonparty; Promptly provide the Nonparty with a copy of the Stipulated
    22   Protective Order in this Action, the relevant discover request(s), and a reasonably
    23   specific description of the information requested; and
    24         ( c)   Make the information requested available for inspection by the
    25   Nonparty, if requested.
   26          10.3. Conditions of Production.
    27         If the Nonparty fails to seek a protective order from this Court within twenty-
    28   one (21) days after receiving the notice and accompanying information, the

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 11 of 15 Page ID #:632



     1   Receiving Party may produce the Nonparty's confidential information responsive to
     2   the discovery request. If the Nonparty timely seeks a protective order, the
     3   Receiving Party shall not produce any information in its possession or control that
     4   is subject to the confidentiality agreement with the Nonparty before a determination
     5   by the Court. Absent a court order to the contrary, the Nonparty shall bear the
     6   burden and expense of seeking protection in this Court of its Protected Material.
     7   11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
     8         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
     9   Protected Material to any person or in any circumstance not authorized under this
    10   Stipulated Protective Order, the Receiving Party immediately must (1) notify in
    11    writing the Designating Party of the unauthorized disclosures, (2) use its best
    12   efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
    13   person or persons to whom unauthorized disclosures were made of all the terms of
    14   this Stipulated Protective Order, and (4) request such person or persons to execute
    15   the "Acknowledgment and Agreement to be Bound" (Exhibit A).
    16   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
    17         PROTECTED MATERIAL
   18          When a Producing Party gives notice to Receiving Parties that certain
    19   inadvertently produced material is subject to a claim of privilege or other
   20    protection, the obligations of the Receiving Parties are those set forth in Federal
   21    Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   22    whatever procedure may be established in an e-discovery order that provides for
   23    production without prior privilege review. Pursuant to Federal Rule of Evidence
   24    5 02( d) and (e), insofar as the parties reach an agreement on the effect of disclosure
   25     of a communication or information covered by the attorney-client privilege or
   26    work product protection, the parties may incorporate their agreement in the
   27    Stipulated Protective Order submitted to the Court.
   28    ///

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 12 of 15 Page ID #:633



     1   13.    MISCELLANEOUS
     2          13 .1. Right to Further Relief.
     3         Nothipg in this Stipulated Protective Order abridges the right of any person
     4   to seek its modification by the Court in the future.
     5          13.2. Right to_ Assert Other Objections.
     6         By stipulating to the entry of this Stipulated Protective Order, no Party
     7   waives any right it otherwise would have to object to disclosing or producing any
     8   information or item on any ground not addressed in this Stipulated Protective
     9   Order. Similarly, no Party waives any right to object on any ground to use in
    10   evidence of any of the material covered by this Stipulated Protective Order.
    11         13 .3. Filing Protected Material.
    12         A Party that seeks to file under seal any Protected Material must comply with
    13   Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
    14   court order authorizing the sealing of the specific Protected Material at issue. If a
    15   Party's request to file Protected Material under seal is denied by the Court, then the
    16   Receiving Party may file the information in the public record unless otherwise
    17   instructed by the Court.
    18   14.   FINAL DISPOSITION
    19         After the final disposition of this Action, within sixty (60) days of a written
   20    request by the Designating Party, each Receiving Party must return all Protected
   21    Material to the Producing Party or destroy such material. As used in this
   22    subdivision, "all Protected Material" includes all copies, abstracts, compilations,
   23    summaries, and any other format reproducing or capturing any of the Protected
   24    Material. Whether the Protected Material is returned or destroyed, the Receiving
   25    Party must submit a written certification to the Producing Party (and, if not the
   26    same person or entity, to the Designating Party) by the 60-day deadline that (1)
   27    identifies (by category, where appropriate) all the Protected Material that was
   28    returned or destroyed and (2) affirms that the Receiving Party has not retained any

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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 13 of 15 Page ID #:634



     1   copies, abstracts, compilations, summaries or any other format reproducing or
     2   capturing any of the Protected Material. Notwithstanding this provision, Counsel is
     3   entitled to retain an archival copy of all pleadings; motion papers; trial, deposition,
     4   and hearing transcripts; legal memoranda; correspondence; deposition and trial
     5   exhibits; expert reports; attorney work product; and consultant and expert work
     6   product, even if such materials contain Protected Material. Any such archival
     7   copies that contain or constitute Protected Material remain subject to this
     8   Stipulated Protective Order as set forth in Section 5.
     9   15.   VIOLATION
    10         Ariy violation of this Stipulated Order may be punished by any and all
    11   appropriate measures including, without limitation, contempt proceedings and/or
    12   monetary sanctions.
    13   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    14
    15   Dated:   t.. J \ l --Z. b L '"L
    16
    17
    18   Dated: January 31, 2022                        Isl Brenda A. Ray
                                                        Attorney( s) for Defendant(s)
    19
   20
               FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   21
   22
   23    Dated: February 4, 2022
                  -----------                           Maria A. Audero
   24                                                   United States Magistrate Judge
   25
   26
   27
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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 14 of 15 Page ID #:635



    1                                        EXHIBIT A
    2          ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3          I, ______________________[full name], of __________________________
    4   ________________[address], declare under penalty of perjury that I have read in its
    5   entirety and understand the Stipulated Protective Order that was issued by the
    6   United States District Court for the Central District of California on ____________
    7   [date] in the case of ___________________________________________________
    8   [case name and number]. I agree to comply with and to be bound by all the terms of
    9   this Stipulated Protective Order, and I understand and acknowledge that failure to
   10   so comply could expose me to sanctions and punishment in the nature of contempt.
   11   I solemnly promise that I will not disclose in any manner any information or item
   12   that is subject to this Stipulated Protective Order to any person or entity except in
   13   strict compliance with the provisions of this Stipulated Protective Order.
   14          I further agree to submit to the jurisdiction of the United States District Court
   15   for the Central District of California for the purpose of enforcing the terms of this
   16   Stipulated Protective Order, even if such enforcement proceedings occur after
   17   termination of this action. I hereby appoint _______________________[full name]
   18   of _______________________________________ [address and telephone number]
   19   as my California agent for service of process in connection with this action or any
   20   proceedings related to enforcement of this Stipulated Protective Order. 22
   21
   22          Signature:                                     __________________________
   23          Printed Name:                                  __________________________
   24          Date:                                          __________________________
   25          City and State Where Sworn and Signed:         __________________________
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Case 2:20-cv-04300-PSG-MAA Document 114 Filed 02/04/22 Page 15 of 15 Page ID #:636




                                 CERTIFICATE OF SERVICE

   Case Name:      John Williams v. Jason Black,            No.    2:20-cv-04300
                   et al.

   I hereby certify that on February 2, 2022, I electronically filed the following documents with the
   Clerk of the Court by using the CM/ECF system:
   STIPULATED PROTECTIVE ORDER
   Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
   I am employed in the Office of the Attorney General, which is the office of a member of the
   California State Bar at which member's direction this service is made. I am 18 years of age or
   older and not a party to this matter. I am familiar with the business practice at the Office of the
   Attorney General for collection and processing of correspondence for mailing with the United
   States Postal Service. In accordance with that practice, correspondence placed in the internal
   mail collection system at the Office of the Attorney General is deposited with the United States
   Postal Service with postage thereon fully prepaid that same day in the ordinary course of
   business.
   I further certify that some of the participants in the case are not registered CM/ECF users. On
   February 2, 2022, I have caused to be mailed in the Office of the Attorney General's internal mail
   system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
   a third party commercial carrier for delivery within three (3) calendar days to the following non-
   CM/ECF participants:

   John Wesley Williams
   No: V34099
   Richard J. Donovan Correctional Facility
   480 Alta Road
   San Diego, CA 92179
   Pro Se

   I declare under penalty of perjury under the laws of the State of California and the United States
   of America the foregoing is true and correct and that this declaration was executed on February
   2, 2022, at Sacramento, California.

                   B. Barton                                          /s/ B. Barton
                   Declarant                                            Signature

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